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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                  x
                                                    :
UNITED STATES OF AMERICA
                                                    :     CONSENT PRELIMINARY ORDER
               - v. -                                     OF FORFEITURE/
                                                    :     MONEY JUDGMENT
MORRIS TOOMER,
       a/k/a “Moe”,                                 :     20 Cr. 132 (PAC)

              Defendant.                            :
----------------------------------                  x

               WHEREAS, on or about February 18, 2020, MORRIS TOOMER a/k/a “Moe” (the

“Defendant”), was charged in an one-count Indictment, 20 Cr. 132 (PAC) (the “Indictment”), with

conspiracy to distribute and possess with intent to distribute mixtures and substances containing a

detectable amount of heroin and mixtures and substances containing a detectable amount of

fentanyl, in violation of Title 21, United States Code, Sections 846 (Count One);

               WHEREAS, the Indictment included a forfeiture allegation as to Count One,

seeking forfeiture to the United States, pursuant to Count One of the Indictment, of any and all

property constituting and derived from any proceeds obtained, directly or indirectly, as a result of

the offense charged in Count One of the Indictment, and any and all property used, or intended to

be used, in any manner or part, to commit and to facilitate the commission of the offense charged

in Count One of the Indictment;

               WHEREAS, on or about August 20, 2020, the Defendant pled guilty to Count One

of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant

admitted the forfeiture allegation with respect to Count One of the Indictment and agreed to forfeit

to the United States, pursuant to Title 21, United States Code, Section 853, any and all property

constituting or derived from any proceeds the Defendant obtained directly or indirectly as a result

of the offense described in Count One of the Indictment, as well as any and all property used or
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intended to be used to facilitate the commission of the offense alleged in Count One of the

Indictment;

               WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $28,000 in United States currency, representing the amount of proceeds traceable to the

offense charged in Count One of the Indictment that the Defendant personally obtained; and

               WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count One of the Indictment that the

Defendant personally obtained cannot be located upon the exercise of due diligence.

               IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorney, Juliana Murray of counsel, and the Defendant, MORRIS TOOMER, and his counsel,

Esere Joy Onaodowan, Esq., that:

               1.     As a result of the offense charged in Count One of the Indictment, to which

the Defendant pled guilty, a money judgment in the amount of $28,000 in United States currency

(the “Money Judgment”), representing the amount of proceeds traceable to the offense charged in

Count One of the Indictment that the Defendant personally obtained, shall be entered against the

Defendant.

               2.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, MORRIS

TOOMER, and shall be deemed part of the sentence of the Defendant, and shall be included in the

judgment of conviction therewith.

               3.     All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals
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Service, and delivered by mail to the United States Attorney’s Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s

Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               7.      The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

               8.      The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.
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               9.     The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York



By:    __/s/ Juliana Murray____________                             __12/17/2020____
       Juliana Murray                                               DATE
       Assistant United States Attorney
       One St. Andrew’s Plaza
       New York, NY 10007
       (212) 637-2314


MORRIS TOOMER


By:    ___________________________
        /s/ Morris Toomer                                           ______________
                                                                     12/28/2020
       Morris Toomer                                                DATE



By:    ___________________________                                  ______________
                                                                    12/28/2020
       Esere Joy Onaodowan, Esq.                                    DATE
       Attorney for Defendant
       1370 Broadway
       New York, New York 10018
       646-380-1812


SO ORDERED:
                                                                     1/7/2021
________________________________                                    ________________
HONORABLE PAUL A CROTTY                                             DATE
UNITED STATES DISTRICT JUDGE
